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 4   Email: billbonham@mylaw.comcastbiz.net
 5   Attorney for: Jaime Rangel
     (Mistakenly identified as Jamie)
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 8
 9
               IN THE UNITED STATES DISTRICT COURT FOR THE
10
11                      EASTERN DISTRICT OF CALIFORNIA

12
13
14   UNITED STATES OF AMERICA,             )       Case No: 2:13-cr-00117 GEB
15                                         )
                        Plaintiff,         )       STIPULATION AND [PROPOSED]
16
                                           )       ORDER TO CONTINUE STATUS
17               v.                        )       CONFERENCE
18                                         )
     DANIEL COVARRUBIAS, et al.            )
19                                         )
20                      Defendants.        )
                                           )
21
22         The defendants, Jamie Rangel and Daniel Covarrubias, by and through their
23
     undersigned counsels, and the United States, through its undersigned counsel,
24
25   hereby agree and request the status conference currently set for Friday, May 10,
26
     2013 at 9:00 am be vacated and continued until Friday, June 7, 2013 at 9:00 am.
27
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 1         Counsel has recently received initial discovery and a continuance is
 2   necessary to provide counsel with additional time to review the discovery and to
 3
     initiate plea and sentencing negotiations.
 4
 5         The parties also stipulate that time should be excluded under the Speedy
 6
     Trial Act due to the needs of counsel for continued case preparation and ongoing
 7
 8   plea and sentencing negotiations. Local Code T4 & 18 U.S.C § 3161
 9
     (h)(7)(B)(iv).
10
11         I, William E. Bonham, the filing party, have received authorization from co-
12
     counsel Barry Rekoon and AUSA Olowoyeye to sign and submit this stipulation
13
14   and proposed order on their behalf.

15         Accordingly, the defense and the United States agree and stipulate that the
16
     status conference for defendants Jamie Rangel and Daniel Covarrubias should be
17
18   continued until Friday, June 7, 2013 at 9:00 am. The parties stipulate that the ends
19
     of justice served by granting this continuance outweigh the best interests of the
20
21   public and defendant in a Speedy Trial. 18 U.S.C. § 3161(h)(7)(A).
22
     Dated: May 8, 2013
23                                                    BENJAMIN B. WAGNER
24                                                    United States Attorney
25
                                                      By:/s/ WILLIAM E. BONHAM for
26                                                    OLUSERE OLOWOYEYE
27
                                                      Assistant U.S. Attorney

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            Case 2:13-cr-00117-JAM Document 12 Filed 05/13/13 Page 3 of 4



 1
 2   Dated: May 8, 2013
 3
                                              By:/s/ WILLIAM E. BONHAM for
 4
                                              WILLIAM E. BONHAM
 5                                            Counsel for Defendant
 6                                            Jamie RANGEL
 7   Dated: May 8, 2013
 8
 9
                                              By:/s/ WILLIAM E. BONHAM for
                                              BARRY REKOON
10                                            Counsel for Defendant
11                                            Daniel COVARRUBIA
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 1
 2
 3                                                        ORDER
 4
                           IT IS SO ORDERED that the status conference for defendants, Jamie
 5
 6   Rangel and Daniel Covarrubias, currently set for Friday, May 10, 2013 at 9:00 am
 7
     should be vacated and continued to Friday, June 7, 2013 at 9:00 am.
 8
 9
                           I find that the continuance is necessary due to the needs of counsel for

10   continued case preparation and plea/sentencing negotiations. Accordingly, time is
11
     excluded under the Speedy Trial Act, due to needs of counsel for additional case
12
13   preparation and ongoing plea/ sentencing negotiations, from May 10, 2013 up to
14
     and including June 7, 2013 pursuant to Local Code T4 and 18 U.S.C. §
15
16   3161(h)(7)(B)(iv). I find that the ends of justice served by granting this
17
     continuance outweigh the best interest of the public and defendant in a speedy
18
19   trial. 18 U.S.C. § 3161(h) (7)(A).
20
     Date: 5/10/2013
21
                                                       ___________________________________
22                                                     GARLAND E. BURRELL, JR.
                                                       Senior United States District Judge
23   DEAC_Signature-END:




24   61khh4bb
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